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                       23rd                    June
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Case 16-15547-mdc        Doc 86   Filed 06/23/20 Entered 06/23/20 13:40:51               Desc Main
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                                                              BY THE COURT:


                                                              Magdeline D. Coleman
                                                              CHIEF U.S. BANKRUPTCY JUDGE

 Post-Petition Anears:               $ 1,078.08
 Counsel Fees:                       $ 306.00
 Total:                              $1,384.08


                                            Exeter Finance, LLC
                                            By Counsel: Mester & Schwaitz, P.C.



                                            By:
                                                    ·
                                                        ,. ·;r,./i
                                                           fon Brett Schwartz, Esquire
                                                         1
                                                        Mester & Schwartz, P.C.
                                                        1917 Brown Street
                                                        Philadelphia, PA 19130
                                                        (267) 909-9036

                                            DATED:           '/pJ/2,0
        Seen and agreed to -- We hereby consent to the form and entry of the foregoing Order.


 Debtor: Nicole Wilkins
 By Counsel for Debtor: Brad J. Sadek, Esquire



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 Sadek and Cooper
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                                    __


 1315 Walnut Street, Suite 502
 Philadelphia, PA 19107
 (215) 545-0008

 DATED:
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       /s/ LeeAne O Huggins          No Objection
                                     Without Prejudice to Any Trustee
                                     Rights or Remedies

                                     6/20/2020
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